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    Attorneys for Debtors and Reorganized Debtors

                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
CHINOS HOLDINGS, INC., et al.,                               :        Case No. 20–32181 (KLP)
                                                             :
                                               1
                                    Debtors.                 :        (Jointly Administered)
                                                             :
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                      NOTICE OF ADDITIONAL OMNIBUS HEARING DATES

                    PLEASE TAKE NOTICE THAT the United States Bankruptcy Court for the
    Eastern District of Virginia, Richmond Division, has scheduled omnibus hearings on the
    following dates and times in the chapter 11 cases of Chinos Holdings, Inc. and its reorganized
    debtor affiliates:
                        April 22, 2021, at 11:00 a.m. (prevailing Eastern Time)
                        May 20, 2021, at 11:00 a.m. (prevailing Eastern Time)
                        June 17, 2021, at 11:00 a.m. (prevailing Eastern Time)




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      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, as applicable, are Chinos Holdings, Inc. (3834); Chinos Intermediate Holdings A, Inc. (3301); Chinos
      Intermediate, Inc. (3871); Chinos Intermediate Holdings B, Inc. (3244); J. Crew Group, Inc. (4486); J. Crew
      Operating Corp. (0930); Grace Holmes, Inc. (1409); H.F.D. No. 55, Inc. (9438); J. Crew Inc. (6360); J. Crew
      International, Inc. (2712); J. Crew Virginia, Inc. (5626); Madewell Inc. (8609); J. Crew Brand Holdings, LLC
      (7625); J. Crew Brand Intermediate, LLC (3860); J. Crew Brand, LLC (1647); J. Crew Brand Corp. (1616); J. Crew
      Domestic Brand, LLC (8962); and J. Crew International Brand, LLC (7471). The Debtors’ corporate headquarters
      and service address is 225 Liberty St., New York, NY 10281.



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Dated: February 22, 2020
       Richmond, Virginia
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                                             -and-

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